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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.          CV 20-11627 FMO (RAOx)                                Date   April 7, 2022
 Title             Andrew Trampe v. CD Projekt S.A., et al.




 Present: The Honorable          Fernando M. Olguin, United States District Judge
            Dolores Ramos                            Maria Bustillos                         None
                Deputy Clerk                    Court Reporter / Recorder               Tape No.
           Attorney Present for Plaintiff(s):                Attorney Present for Defendant(s):
           Jonathan Stern (Telephonically)                             Matthew D. Martinez


 Proceedings:              HEARING ON MOTION FOR PRELIMINARY APPROVAL OF CLASS
                           ACTION SETTLEMENT [61]

         The case is called and counsel make their appearance.

         The Court and counsel confer.

      The Motion for Preliminary Approval of Class Action Settlement (Document No. 61)
denied without prejudice for the reasons stated on the record. Counsel may file a renewed
motion, on or before April 28, 2022.




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                                                         Initials of Preparer            dr




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